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7

8

9                          UNITED STATES DISTRICT COURT
10                       NORTHERN DISTRICT OF CALIFORNIA
11                                  OAKLAND DIVISION
12

13   ROBERT ROSS,                             CASE NO. 4:19-CV-06669 (JST)
14                     Plaintiff,             PLAINTIFF’S REPLY TO AT&T’S
                                              RESPONSE TO MOTION TO FILE
15         v.                                 FIRST AMENDED COMPLAINT
16   AT&T MOBILITY LLC,
                                              Date: October 14, 2020
17                     Defendant.             Time: 2:00 p.m.
                                              Place: Courtroom 6
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                REPLY TO AT&T’S RESPONSE TO MOTION TO FILE AMENDED COMPLAINT
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1           Plaintiff ROBERT ROSS (“Ross”) hereby submits his Reply to ATT&T
2    Mobility, LLC’s (“AT&T”) Response to the Motion to File a First Amended
3    Complaint (“FAC”).
4

5    I.     THERE IS GOOD CAUSE TO ADD NEW DEFENDANTS
6           There is good cause to amend the Complaint to add the One Touch Entities as
7    defendants since Plaintiff acted with diligence and there is a valid explanation for not
8    seeking leave earlier.
9           AT&T contends that Plaintiff failed to act with diligence in seeking to amend
10   the Complaint based on the generalized holding of Johnson v. Mammoth Recreations,
11   975 F.2d 604 (9th Cir.1992). In Johnson, the defendant gave the plaintiff “clear” and
12   “repeated” signals to add a new defendant -- in a letter from defense counsel which
13   disclaimed involvement of the named defendant expressly detailed the identity of the
14   proper party, in interrogatory responses, and in the answer to the complaint -- all
15   within the period to amend the complaint. Under those facts, the Johnson court found
16   a lack of diligence.
17          Courts have addressed situations similar to the one presented here, readily
18   distinguished Johnson on its facts, and rejected the same kinds of repeated
19   overgeneralizing of the Johnson holding that AT&T relies on throughout its brief. See,
20   e.g., Mytee Products, Inc. v. H.D. Products, Inc., 2007 WL 4105713 at * 3 (S.D. Cal.
21   2007) (“Defendant repeatedly overgeneralizes Johnson v. Mammoth Recreations, 975
22   F.2d 604 (9th Cir.1992) in arguing why joinder is improper.”). “Essential to the Ninth
23   Circuit’s judgment was its observation that “[f]ailing to heed clear and repeated signals
24   that not all the necessary parties had been named in the complaint does not constitute
25   diligence.” Ivera Medical Corporation v. Excelsior Medical Corporation, 2013 WL
26   12170511 at *4, fn 1 (S.D. Cal. 2013). “[T]he party opposing leave to amend ‘sent
27   Johnson’s counsel a letter which expressly noted the complaint’s deficiency …
28   Excelsior’s letter at most notes the possibility of a deficiency. Indeed, Excelsior’s letter

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1    cannot be interpreted to suggest an actual deficiency or send a “clear” (much less
2    “repeated”) signal ... The Court concludes that Johnson is distinguishable on its facts.’”
3    Id.
4            Unlike in Johnson, where there were “clear” and “repeated” statements by the
5    defendant, AT&T made a single vague and ambiguous reference -- in a footnote to a
6    brief submitted in support of its motion to dismiss -- that an alleged customer service
7    representative called “Cristelo V” was “affiliated” with a “contractor” called “One
8    Touch Direct.” AT&T’s buried reference did not explain the nature of the affiliation,
9    provide the legal name of the One Touch Direct entity (there are several), nor explain
10   that One Touch Direct was a third-party call center (e.g., as opposed to an employment
11   loan-out company or other type of contractor). AT&T’s vague footnote reference was
12   insufficient information to seek leave to amend to add the specific One Touch Entities
13   as defendants, especially when coupled with AT&T’s failure to even mention One
14   Touch Direct at all in the Joint Case Management Statement (Docket 35), and its
15   failure to disclose the legal names of the One Touch Entities in its Rule 26 disclosures
16   (served after the Scheduling Order) wherein it refers to them simply as “One Touch
17   Direct.”
18           AT&T’s vague reference in a footnote is not the same kind of “clear” and
19   “repeated” message which was set forth in the detailed letter, interrogatory response,
20   and answer which drove the Johnson court’s decision. At best, AT&T’s footnote
21   suggests the mere “possibility” that some unspecified One Touch entity might be a
22   proper defendant. Indeed, AT&T has been far less forthcoming about the role and
23   identity of the One Touch Entities than the defendant was in Johnson about the identity
24   of the proposed new party in that case. A defendant which has been coy about
25   identifying other responsible parties cannot claim a lack of diligence. Thompson v.
26   George DeLallo Co., Inc., 2013 WL 211204 at *5 (E.D. Cal. 2013) (“In truth, if there
27   is any fault in plaintiff’s counsel’s understanding, it lies with defendant, which failed
28   to inform the court that plaintiff may have sued the wrong party.”). While AT&T

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1    remains primarily responsible for Plaintiff’s losses (and has a non-delegable duty to
2    safeguard his CPNI), the One Touch Entities are also responsible, at least in part.
3            The present case can also be distinguished from Johnson since the Scheduling
4    Order in that case gave the parties a six-month window in which to move to join
5    additional parties, after which a showing of “extraordinary circumstances” would be
6    required. Johnson v. Mammoth Recreations, 975 F.2d at 606. The Scheduling Order
7    in this case does not provide a 6-month window to join new parties (if it did, Plaintiff’s
8    motion would be timely), and provides that “good cause” rather than the much higher
9    burden of “extraordinary circumstances” is required to join a new party. Here, Plaintiff
10   has a valid explanation for not seeking leave, the amendment is important since it adds
11   additionally responsible parties (which have agreed to participate in the upcoming
12   September 29 mediation), and there is no potential prejudice since AT&T has agreed
13   to the amendment to add the One Touch Entities.
14           Once the party has demonstrated good cause under Rule 16(b), the court then
15   applies the Rule 15(a) standard. Johnson, 975 F.2d at 608. Under Rule 15(a), leave to
16   amend the pleadings before trial should be given “freely ... when justice so requires.”
17   Fed. R. Civ. P. 15(a)(2). “This policy is to be applied with extreme liberality.”
18   Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003). Justice
19   requires permitting the amendment to add the One Touch Entities since they are
20   responsible, in part, for Plaintiff’s damages. There is no potential prejudice to AT&T;
21   indeed, AT&T welcomes the amendment.
22

23   II.     THERE IS GOOD CAUSE TO ADD PUNITIVE DAMAGES
24           ALLEGATIONS AND A CLAIM FOR FRAUDULENT CONCEALMENT
25           There is good cause to amend the Complaint to add a claim for punitive
26   damages on the negligence theory, and to add a claim for fraudulent concealment.
27   AT&T’s arguments that Plaintiff was not diligent, and that the proposed amendments
28   are futile, are both without merit.

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1          A.     Plaintiff Has Acted Diligently
2          AT&T claims that Plaintiff was not diligent in seeking to amend the complaint
3    at an earlier date. There was an extensive undertaking to develop the factual bases for
4    the proposed amendments. Uncovering the new factual bases was not a simple or
5    obvious process, and took considerable time because it involved not just identifying
6    the low-cost and readily available SIM swap solutions set forth in the FAC (which are
7    neither obvious nor readily available from any single source), but also in uncovering
8    that AT&T’s business strategy in not implementing these solutions was (and is)
9    motivated by the revenue opportunity in marketing its post-SIM swap solution (called
10   ZenKey) to financial institutions. Put another way, Plaintiff discovered that instead of
11   devoting its resources to stopping unauthorized SIM swaps, AT&T made the conscious
12   business decision to profit from them, thereby putting its 150 million mobile customers
13   at even greater risk as illegal SIM swaps have dramatically increased (and continue to
14   increase) in the time since AT&T conceived, built and began marketing ZenKey. The
15   new allegations required discovering, analyzing, understanding and synthesizing
16   substantial amounts of data. To say that Plaintiff should have known everything
17   before filing suit is unsupported argument. To compound matters, Plaintiff lost his life
18   savings due to the unauthorized SIM swap, and cannot snap his fingers and marshal
19   anything close to the same resources that a $100 billion company like AT&T has at its
20   beck and call, in order to understand AT&T’s response to the SIM swap problem.
21         AT&T also argues that the concealment claim is based on “factual allegations
22   that were included in the original complaint, not in the new allegations.” (AT&T
23   Response, 4:3-4). This is a disingenuous argument which relies on very broad and
24   generalized allegations in the operative complaint, and conveniently ignores the
25   detailed new allegations which are required to support the fraudulent concealment
26   claim. Plaintiff alleges in great detail in the FAC that AT&T grossly mismanaged its
27   third party call centers by not allocating enough money to them (FAC, ¶ 98), that there
28   were several cost-effective and readily available technology solutions which AT&T

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1    could have implemented but chose not to (FAC, ¶ 99a.-f.), and that AT&T
2    intentionally chose to ignore solving the SIM swap problem and instead focused its
3    efforts on trying to profit from the problem by marketing to financial institutions a
4    post-SIM swap solution to prevent the theft of funds, so far without any success. (FAC,
5    ¶101-103). There is nothing remotely similar to these specific allegations in the
6    current operative complaint. As AT&T is no doubt fully aware, particular allegations
7    are required for fraud claims.
8          The proposed amendments refer to studies published after the filing of the
9    complaint which reveal that the SIM swap problem is getting worse, as described in a
10   the January 2020 study by Princeton University’s Center for Information Technology
11   Policy (FAC, ¶ 98), a January 2020 letter from five U.S. Senators and Congressmen to
12   FCC Chairman Ajit Pai calling on him to take action to protect consumers against SIM
13   swap fraud (FAC, ¶ 98), and a November 2019 Wall Street Journal article stating that
14   the number of SIM swap victims had grown to at least 3,000, accounting for at least
15   $70 million in reported theft nationwide (FAC, ¶ 99). Plaintiff’s further investigation
16   led to the discovery of AT&T’s business scheme called ZenKey which seeks to profit
17   from the SIM swap problem rather than fix it. (FAC, ¶ 100).
18         B.     The Proposed Amendments Should Not Impact The Schedule
19         “Unlike the cases Defendants cite, permitting the amended complaint will not
20   upset an imminent trial date, require the reopening of discovery, or otherwise disrupt
21   the orderly proceeding of the case.” Earth Island Institute v. Elliott, 318 F.Supp.3d
22   1155 (2018). “[D]efendants have not and cannot point to any crucial cutoff-date
23   plaintiff’s proposed 90–day extension would meaningfully alter. Stoddart v. Express
24   Services, 2017 WL 3333994 (E.D. Cal. 2017).
25         The proposed amendment to add a punitive damage allegation to the negligence
26   claim, and to add a fraudulent concealment claim, should not impact the current
27   schedule in and of themselves. There are already punitive damages allegations in the
28   current operative pleading, and the addition of new punitive damages allegations on a

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1    different theory of liability, does not change the nature or scope of discovery or the
2    trial date. Indeed, AT&T acknowledges in its papers that there are already similar
3    punitive damages allegations in the Complaint. The same rationale applies to the claim
4    for fraudulent concealment, which should also not impact discovery or the trial date.
5    Tellingly, AT&T does not argue that the proposed amendments will have any impact
6    on discovery or the trial date.
7          C.     The Proposed Amendments Are Not Futile
8          AT&T claims that the proposed amendments are futile because there are
9    insufficient allegations of recklessness and fraudulent concealment. These arguments
10   are without merit.
11         While a negligence claim “ordinarily” does not support a claim for punitive
12   damages, “if the plaintiff can make a showing that defendant’s conduct goes beyond
13   gross negligence and demonstrates a knowing and reckless disregard, punitive
14   damages may be available.” Simplicity Int’l v. Genlabs Corp., No. 09-cv-06146-SVW
15   (RCx), 2010 WL 11515296, at *2 (C.D. Cal. Apr. 21, 2010) (citing Sturges v.
16   Charlesv L. Harney, Inc., 165 Cal. App 2d 306, 320 (1958)). The plaintiff must show
17   that the defendant (1) had “actual knowledge of the risk of harm it is creating” and (2)
18   “in the face of that knowledge, fail[ed] to take steps it [knew would] reduce or
19   eliminate the risk of harm.” Ehrhardt v. Brunswick, Inc., 186 Cal. App. 3d 734, 742
20   (1986) (emphasis in original).
21         Plaintiff has sufficiently alleged facts that go well beyond gross negligence, and
22   which show that AT&T had actual knowledge of the risk of harm and failed to take
23   steps to prevent it. The allegations fully support the claim that AT&T made the
24   conscious decision to try to profit from the SIM swap problem by marketing a post-
25   SIM swap solution instead of implementing measures to stop the problem in the first
26   instance. AT&T has recklessly disregarded the known risks of loss faced by its
27   customers. This type of behavior is far beyond gross negligence, at a minimum is
28   reckless, and crosses over into intentional misconduct territory. If Plaintiff’s detailed

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1    allegations are proven at trial, this case will be the poster child for punitive damages
2    based on conscious and reckless disregard.
3          AT&T’s reference to the court’s ruling in the Terpin case is unpersuasive.
4    Terpin did not allege the specific technology solutions which AT&T disregarded, and
5    did not allege AT&T’s decision to focus on the ZenKey solution to profit from
6    unauthorized SIM swaps after they occur instead of allocating resources to stopping
7    SIM swaps. AT&T engages in misdirection or straw man arguments by analyzing
8    Terpin’s allegations regarding the Consent Decree. Plaintiff’s fraudulent concealment
9    case is not based on the Consent Decree. The Terpin court’s disagreement with this
10   Court’s rulings and the Shapiro court’s rulings, based on the unique facts of the Terpin
11   case, are not controlling. Furthermore, Plaintiff has alleged that specific officers
12   endorsed the corporate policy of seeking to profit from illegal SIM swaps instead of
13   trying to fix them. (FAC, ¶¶182, 188). Finally, it bears noting that the Terpin court
14   allowed Mr. Terpin to re-visit the issue of punitive damages if “critical facts may arise
15   during discovery that provide Mr. Terpin the ability to adequately plead punitive
16   damages.” (Terpin Order, 13:19-20). Plaintiff submits that he has alleged more than
17   sufficient “critical facts” which fully support his claim for punitive damages.
18         AT&T argues that the proposed amendment relating to fraudulent concealment
19   is futile because it owes no disclosure duty to Plaintiff. This contention is contrary to
20   California law. There are “four circumstances in which nondisclosure or concealment
21   may constitute actionable fraud: (1) when the defendant is in a fiduciary relationship
22   with the plaintiff; (2) when the defendant had exclusive knowledge of material facts
23   not known to the plaintiff; (3) when the defendant actively conceals a material fact
24   from the plaintiff; and (4) when the defendant makes partial representations but also
25   suppresses some material facts.” LiMandri v. Judkins, 52 Cal.App.4th 326, 336 (1997).
26         As the court in LiMandri explained further, other than the first instance, in
27   which there must be a fiduciary relationship between the parties, “the other three
28   circumstances in which nondisclosure may be actionable presuppose[ ] the existence of

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1    some other relationship between the plaintiff and defendant in which a duty to disclose
2    can arise.... ‘[W]here material facts are known to one party and not to the other, failure
3    to disclose them is not actionable fraud unless there is some relationship between the
4    parties which gives rise to a duty to disclose such known facts.’” Id. at pp. 336-337,
5    original italics, citations omitted, quoting BAJI No. 12.36 (8th ed. 1994).) A
6    relationship between the parties is present if there is “some sort of transaction between
7    the parties. Thus, a duty to disclose may arise from the relationship between seller and
8    buyer, employer and prospective employee, doctor and patient, or parties entering into
9    any kind of contractual agreement.” LiMandri, at p. 337, original italics, citations
10   omitted, citing Warner Constr. Corp. v. City of Los Angeles (1970) 2 Cal.3d 285, 294;
11   see Use Note to CACI No. 1901 indicating that for concealment claim not based upon
12   fiduciary relationship, “if the defendant asserts that there was no relationship based on
13   a transaction giving rise to a duty to disclose, then the jury should also be instructed to
14   determine whether the requisite relationship existed.”
15         The mobile phone carrier-customer relationship is the type of relationship which
16   gives rise to the duty to disclose. See Lovejoy v. AT&T Corp., 92 Cal.App.4th 85
17   (2001) (AT&T had duty to disclose material facts to long distance customer and could
18   be found liable for active concealment). Here, AT&T concealed from Plaintiff that he
19   was at risk for SIM swaps and resulting financial losses, that there were available
20   solutions that AT&T could have implemented but elected not to, and that AT&T was
21   recklessly focused on trying to bring to market a post-SIM swap solution instead of
22   implementing solutions to stop SIM swaps in the first instance. As Plaintiff alleges in
23   the proposed FAC, had he known these facts he would have taken further measure to
24   protect himself and would not have remained as a customer of AT&T. (FAC, ¶ 184).
25   This is sufficient to plead fraudulent concealment. In addition, and as presented in the
26   moving papers, a fraudulent concealment claim may be found where there is a “special
27   relationship,” as the Court has already found in this case. The fraudulent concealment
28   claim is well-pled and far from “futile.”

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1    IV.     CONCLUSION
2            For all the foregoing reasons, Plaintiff requests that the Court grant his motion.
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4
     DATED: September 21, 2020                CHRISTOPHER GRIVAKES
5                                             AFFELD GRIVAKES LLP
6

7                                             By: /s/ Christopher Grivakes
                                                               Christopher Grivakes
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9                                             Attorneys for Plaintiff ROBERT ROSS
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1                                   PROOF OF SERVICE
2         I hereby certify that on September 21, 2020, I electronically filed the foregoing
     document using the Court’s CM/ECF system. I am informed and believe that the
3    CM/ECF system will send a notice of electronic filing to the interested parties.
4                                                   s/ Christopher Grivakes
                                                    Christopher Grivakes
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